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   11

   12                        UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14   LEAH SNYDER,                               Case No. 8:21-cv-00187-CJC (KESx)
   15               Plaintiff,                     REPLY IN SUPPORT OF
                                                   DEFENDANT’S MOTION FOR
                                                   DEFENDANT'S
   16        v.                                    SUMMARY JUDGMENT OR, IN THE
                                                   ALTERNATIVE, PARTIAL
   17
      ALIGHT SOLUTIONS, LLC, an                    SUMMARY JUDGMENT
   18
      Illinois Limited Liability Co., and          Date:        July 25, 2022
      DOES 1 TO 10,                                Time:        1:30 p.m.
   19                                              Place:       Courtroom 9B
                    Defendants.
   20                                              [Filed concurrently with Response to
                                                   Additional Contested Facts; Reply
   21                                              Declaration of Kathleen J. Choi; and
                                                   Evidentiary Objections to Declarations of
   22                                              David Flyer and Leah Snyder]
   23                                              Discovery Cut-off: June 30, 2022
                                                   Pre-Trial Conference: October 31, 2022
   24                                              Complaint Filed: January 26, 2021
                                                   Trial Date:      November 8, 2022
   25                                              District Judge: Hon. Cormac J. Carney
                                                                     Courtroom 9B, Santa
   26                                                                Ana
                                                   Magistrate Judge: Karen E. Scott
   27                                                                Courtroom 6D, Santa
                                                                     Ana
   28
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    1
    1            REPLY MEMORANDUM OF POINTS AND AUTHORITIES
    2   I.    INTRODUCTION
    3         Snyder’s
              Snyder's Opposition is clear on only one point: she personally believes she
    4   acted lawfully when she went to the U.S. Capitol Building on January 6, 2021. But
    5 the Opposition completely fails to address Snyder’s
                                                 Snyder's legal burden under the
                                               Alight’s stated reason for terminating her
    6 McDonnell Douglas standard: to show that Alight's

    7   employment—its belief that she trespassed on Capitol grounds and publicized her
    8   conduct on Facebook—is pretext for unlawful retaliation in violation of sections
    9 1101 and 1102 of the California Labor Code. Snyder’s                      belief
                                                  Snyder's professed subjective belief
   10 that she did nothing wrong by joining the mobs at the Capitol Building on January 6

   11 cannot meet this burden; it is difficult to imagine many discharged employees agree

   12 with the reasons for their discharge. Snyder offers zero admissible evidence to show

   13 that Alight held any political bias against her. Indeed, she admitted in her deposition

   14 that Alight did nothing to discourage her support for Donald Trump or to otherwise

   15 restrict her off-duty political activity.

   16         Snyder’s “evidence” of pretext is limited to criticizing Alight's
              Snyder's "evidence"                                      Alight’s investigation
   17 and insisting that she did not personally believe she committed any violence or cross

   18 any barricades. First, that Snyder questions the duration of the investigation or

   19 suggests that there is exculpatory evidence not considered by the decision makers is

   20   legally irrelevant to the issue of pretext. Likewise, that Snyder believes she did not
   21   commit a crime by going to the Capitol is similarly irrelevant to this Court’s
                                                                               Court's inquiry.
   22   The issue is not what Snyder’s
                              Snyder's claimed reasons were for going to the Capitol
   23   Building on January 6; rather, the relevant legal issue is only whether Alight was
   24   motivated by animus barred by sections 1101 and 1102. In other words, "courts
                                                                              “courts only
   25   require that an employer honestly believed its reason for its actions, even if its reason
   26   is foolish or trivial or even baseless."
                                      baseless.” Villiarimo
                                                 Villiarimo v. Aloha Island Air, Inc., 281 F.3d
   27   1054, 1063 (9th Cir. 2002) (internal quotation marks omitted). Snyder "cannot
                                                                              “cannot
   28   simply show that the employer’s
                             employer's decision was wrong or mistaken, since the factual
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    1   dispute at issue is whether discriminatory animus motivated the employer, not
    2   whether the employer is wise, shrewd, prudent, or competent.”
                                                          competent." Wills
                                                                      Wills v. Super. Ct.,
    3 195 Cal. App. 4th 143, 160 (2011), as modified on denial of
                                                               of reh’g
                                                                  reh'g (May 12, 2011).
    4         Snyder has utterly failed to offer any admissible evidence reflecting that
    5 Alight did not sincerely believe its reasons for terminating Snyder’s
                                                                   Snyder's employment
    6 (i.e., that Snyder engaged in unlawful conduct in violation of Alight's
                                                                     Alight’s Code of
    7   Conduct by going to the Capitol on January 6). She has not met her burden to show
    8 Alight was motivated by political animus in violation of sections 1101 and 1102 of

    9 the Labor Code. Accordingly, the Court should grant summary judgment and dismiss

   10 her claims.

   11 II.     ARGUMENT
   12         A.     No Genuine Dispute of Material Fact on Snyder’s
                                                            Snyder's Claim for
                     Wrongful Termination.
   13
                     1.    There is no evidence Alight's
                                                Alight’s termination of Snyder’s
                                                                        Snyder's
   14                      employment contravened a substantial public policy.
   15         As explained in the moving papers, Snyder can only prevail by showing
      Alight’s "motivation
   16 Alight's “motivation for a discharge contravenes some substantial public policy
      principle” encompassed within sections 1101 or 1102 of the Labor Code. Slivinsky v.
   17 principle"

   18   Watkins-Johnson
        Watkins-Johnson Co., 221 Cal. App. 3d 799, 806 (1990) (citation, internal quotation
   19 and formatting marks omitted). "[L]iability
                                     “[L]iability under §§ 1101(a) and 1102 is triggered
   20   only if an employer fires an employee based on a political motive."
                                                                   motive.” Couch v.
   21   Morgan Stanley & Co. Inc., 656 F. App'x 841, 843 (9th Cir. 2016). The Opposition
   22   fails to identify a scintilla of admissible evidence to show that Alight terminated
   23                                          motive.1
        Snyder based on a prohibited political motive.1
   24         First, Snyder does not dispute, other than on relevance grounds, that Alight's
                                                                                    Alight’s
   25

   26
        1
             Snyder’s
             Snyder's Opposition brief states that she was not "demonstrati
                                                               “demonstrating”" at the
   27 Capitol, suggesting she was just an innocent bystander. (OpR'n
                                                               (Opp’n at 8:16).
                                                                            8:16). If she was
      not engaged in a_pobtical
                      a political demonstration, then she cannot claim that being terminated
   28 for being at the Capitol on January 6 was politically motivated.
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    1
    1   Code of Conduct states "[c]olleagues
                               “[c]olleagues are free to participate in personal political
    2   activities...."   4.2) Nor does she offer any other contrary evidence regarding
        activities….” (UF 4.2)
      Alight’s overall policies. This admission and the lack of contrary evidence is fatal to
    3 Alight's
    4   Snyder’s
        Snyder's claim that she was wrongfully terminated in violation of the public policies
    5 in Labor Code section 1101. See Ross v. Indep. Living Res. of
                                                                 of Contra Costa Cty., No.
    6 C08-00854 TEH, 2010 WL 2898773, at *9 (N.D. Cal. July 21, 2010) (summary

    7   judgment on Section 1101 claim proper where no evidence of employer policy
    8 discouraging employees from filing ADA lawsuits).

    9         Second, at her deposition, Snyder admitted she was unaware of any Alight
   10 rule, regulation, or policy forbidding employees from participating in off-duty

   11 political activity or forbidding employees from becoming candidates for political

   12 office. (UF 6, 7.) It is undisputed that no one in Alight management ever indicated to

   13   Snyder that it had any concerns with her support of Donald Trump. (UF 10.)
   14 Snyder’s
      Snyder's attempt to dispute her own sworn testimony misses the mark. She argues
                  “promulgated corporate political positions, which were supported by its
   15 that Alight "promulgated

                         Blackstone…” by citing to documents produced during discovery
   16 major stakeholder, Blackstone..."

   17 and attached to Snyder’s
                      Snyder's counsel’s
                               counsel's declaration with no attempt to further authenticate
   18 the documents, nor to lay a proper foundation. (See GDF 6, 7, 10; Fed. R. Civ. P.

   19 56(c)(4); Hal Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542, 1551 (9th
   20   Cir. 1989) (attorney could not "authenticate
                                       “authenticate the [document]....[because]
                                                         [document]….[because] [h]e did not
   21   prepare or file the [document], nor did he explain in his affidavit where the attached
   22   copy…originated”).
        copy...originated"). Inadmissible evidence cannot give rise to a genuine dispute of
   23   material fact. See Fed. R. Civ. P. 56(c)(2). And even taken at face value, these
   24   documents are completely irrelevant to Alight's
                                               Alight’s decision to terminate Snyder and
   25   cannot otherwise create a genuine material dispute. The first document appears to be
   26
        2
   27                         Alight’s Uncontroverted Material Facts are abbreviated "UF
            All references to Alight's                                                    “UF
      [number].” All references to Snyder’s
      [number]."                   Snyder's Statement of Genuine Disputes of Material
                            “GDF [number]."
   28 Facts are abbreviated "GDF  [number].”
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    1
    1   a draft statement from Matthew Anderson to MacKenzie Lucas that condemns the
    2   actions taken by the rioters. (Declaration of David Flyer ["Flyer
                                                                  [“Flyer Decl."],
                                                                          Decl.”], Ex. Q at
    3 ALIGHT-SNYDER000000378.) The second is a series of text messages between
    4   Paulette Dodson and Amy Wulfestieg. (Id. at ALIGHT-SNYDER000000644.)
    5 Neither document reflects, or even suggests, any political motivation to terminate

      Snyder.33 It is undisputed that none of these individuals made the decision to
    6 Snyder.

    7   terminate Snyder’s
                  Snyder's employment. (UF 30, GDF 30.) And while Dodson did provide
    8 information regarding what the factual investigation had determined to the actual

    9 decision-maker Cesar Jelvez, Snyder does not dispute that Dodson accurately

   10 conveyed the investigation results as she understood them. (UF 24, 26, GDF 24, 26.)

   11 Whatever inference Snyder hopes the Court will draw from these documents is far

   12 too vague to create a triable issue on her claim that she was wrongfully terminated in

   13 violation of sections 1101 or 1102. See Mircovich v. Reuters Am., LLC, No. 218-cv-

   14 00133-CAS-PJWx, 2019 WL 1585198, at *10 (C.D. Cal. Apr. 8, 2019).

   15          Finally, Snyder also admitted at her deposition that Alight never threatened
   16 her about engaging in political activity or encouraged or urged her to engage in

   17 political activity. (UF 7, 8; GDF 7, 8.) Snyder’s
                                               Snyder's new declaration stating she
   18
        3
   19          Snyder appears to suggest that Alight's
                                                Alight’s condemnation of the violent and
        deadly riot at the Capitol on January 6 reflects a political bias. Not so. Both this
   20   Court and the District of Columbia Circuit have adopted similar characterizations of
        the events of January 6, 2021. See, e.g., Eastman v. Thompson, No. 822-cv-00099-
   21   DOC-DFM, 2022 WL 894256, at *5 (C.D.    (C.D. Cal. Mar. 28, 2022) ("the(“the rioters
        continued to break into the Capitol”);
                                      Capitol"); Trump v. Thompson,
                                                           Thompson 20 F'.4thF.4th 10, 18 (D.C. Cir.
   22   2021), cert. denied, 142 S. Ct. 1350, 212 L. Ed. 2d 55 (2022) (describing "throngs “throngs of
        rioters”). Moreover, Senate Minority Leader Mitch McConnell, not a leftist by any
        rioters").
   23   definition, described the January 6 events as a "failed
                                                          “failed insurrection,”
                                                                  insurrection," and those at the
        Capitol an "unhinged
                    “unhinged crowd”
                                 crowd" aiming to prevent Congress from certifying the
   24   election by the use of "thugs,
                                 “thugs, mobs or threats."
                                                 threats.” See, e.g.,
        https://www.usnews.com/news/elections/articles/2021-01-06/read-mitch-
   25   mcconnells-statement-to-the-senate-on-the-storming-of-the-capitol. GOP House
        Minority Leader Kevin McCarthy, also hardly a liberal Democrat, similarly
   26   condemned those at the Capitol on January 6 and characterized them as "mob        “mob
        rioters.” See, e.g., https
        rioters."            https://www.politico.com/news/2021/01/13/mccarthy-trump-
                                  ://www.politico.com/news/2021/01/13/mccarthy-trump-
   27   responsibility-capitol-riot-458975. In other words, criticism of the rioters who
        responsibility-capita-riot-458975.
        invaded the Capitol on January 6 was bipartisan and does not necessarily reflect a
   28   political bias or motivation.
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 1
 1   “reasonably believes"
     "reasonably believes” the reason for her employment termination is a "cover
                                                                          “cover up"
                                                                                 up” is
 2   “mere allegation and speculation [regarding causation] [that] do not create a factual
     "mere
 3 dispute for purposes of summary judgment."
                                   judgment.” Nelson v. Pima Cmty. Coll., 83 F.3d
 4         1081–82 (9th Cir. 1996) (citation omitted). The Court may properly disregard
     1075, 1081-82
 5 this type of "conclusory
                “conclusory testimony--which lack[s] necessary facts and data."
                                                                         data.” Lumens
 6 Co. v. GoEco LED, LLC, 807 F. App'x 612, 617 (9th Cir. 2020).

 7         The sole case on this issue regarding political bias cited in the Opposition is
 8   completely inapposite. In Pease v. Gore, the Complaint alleged "claims
                                                                    “claims under 42
 9 U.S.C. § 1983 against the City of San Diego and Sheriff Gore for violations of First,

10 Fourth, and Eighth Amendments of the U.S. Constitution."
                                             Constitution.” No. 18-CV-01062-BAS-
11 NLS, 2018 WL 4951957, at *2 (S.D. Cal. Oct. 12, 2018). The key issues in Pease

                “(1) the defendant was acting under color of state law at the time the
12 were whether "(1)

13   complained of act was committed; and (2) the defendant's
                                                  defendant’s conduct deprived plaintiff
14 of rights, privileges or immunities secured by the Constitution or laws of the United

15   States.”
     States." Pease, 2018 WL 4951957, at *4. These questions are obviously irrelevant to
16 whether there is admissible evidence that Alight terminated Snyder’s
                                                               Snyder's employment
17 based on a political motive.

18                2.    There is no evidence that Alight's
                                                  Alight’s legitimate reason for
                        termination was pretextual.
19
           Even if Snyder could show some factual dispute concerning her prima
                                                                         prima facie
                                                                                facie
20
     case, "under...
           “under…[the]
                     [the] McDonnell Douglas [analysis] the employer’s
                                                            employer's burden is satisfied
21
     if he simply ‘explains             done’ or ‘produc[es]
                  `explains what he has done'    `produc[es] evidence of legitimate
22
                       reasons.’” Bd. of
     nondiscriminatory reasons.'"     of Trs. of
                                              of Keene State Coll. v. Sweeney, 439 U.S.
23
     24, n. 2 (1978); Lawler v. Montblanc N. Am., LLC, 704 F.3d 1235, 1243 (9th Cir.
24
           (“California courts also employ the McDonnell Douglas burden-shifting
     2013) ("California
25
     framework in analyzing retaliation claims”).
                                        claims"). Once the employer does so, "the
                                                                             “the
26
     employee then must show that the employer’s
                                      employer's reasons are pretexts for
27
     discrimination, or produce other evidence of intentional discrimination."
                                                              discrimination.” Nakai v.
28
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 1
 1                          of Am. Indians, Inc., 15 Cal. App. 5th 32, 38-39
     Friendship House Assn. of                                         38–39 (2017)
 2   (citation and internal quotation and formatting marks omitted). "A
                                                                     “A plaintiff may rely
 3   on circumstantial evidence to show pretext, but "such
                                                     “such evidence must be both specific
 4       substantial.” Fried v. Wynn
     and substantial."          Wynn Las Vegas, LLC, No. 20-15710, 2021 WL 5408678,
 5 at *2 (9th Cir. Nov. 18, 2021) Importantly, "mere
                                               “mere temporal relationship between an
 6 employee’s
   employee's protected activity and the adverse employment action, while sufficient
 7   for the plaintiff's
             plaintiff’s prima
                         prima facie
                                facie case, cannot create a triable issue of fact regarding
 8 pretext if the employer offers a legitimate, nonretaliatory reason for the adverse

   action.” Light v. Dep't of
 9 action."                of Parks.
                              Parks & Recreation, 14 Cal. App. 5th 75, 94 (2017).
10 California appellate courts have "affirmatively
                                    “affirmatively reject[ed] the notion that temporal
11 proximity standing alone can be sufficient proof of [pretext]."
                                                       [pretext].” Arteaga v. Brink's,
                                                                              Brink’s,
12 Inc., 163 Cal. App. 4th 327, 354 (2008) (citations and internal quotation marks

13   omitted).
14         Snyder does not even attempt to "demonstrate
                                           “demonstrate such weaknesses,
15 implausibilities, inconsistencies, incoherencies, or contradictions in the employer’s
                                                                              employer's
16 proffered legitimate reasons for its action that a reasonable factfinder could rationally

17   find them ‘unworthy
               `unworthy of credence….’”
                            credence....'" Arteaga, 163 Cal. App. 4th at 343. Indeed,
                                                                                    4
18 while admitting she was at the Capitol Building on January 6 (Compl., ¶
                                                                         ¶ 9, ACF 774))
19 she criticizes Alight's
                  Alight’s consistent explanation for its actions and admits the evidence
20   shows Alight genuinely believed its reasoning for terminating Snyder’s
                                                                   Snyder's employment.
21   (Opp’n at 12:27-28, 13:2-3.) Snyder only takes issue with the "incompleteness"
     (Opp'n                                                        “incompleteness” of
22   Alight’s investigation, which is insufficient to establish pretext. See Day v. Sears
     Alight's
23   Holding Corporation, 930 F. Supp.2d 1146, 1174 (C.D. Cal. 2013) ( "while
                                                                       “while
24   [plaintiff] disputes the conclusion that she violated company policy, she has not
25   adduced evidence that the investigation of her conduct was so flawed as to be
26

27
     4
          References to Snyder’s
                        Snyder's Additional Contested Facts in her Statement of
28   Genuine Disputes of Material Fact (ECF No. 105) are abbreviated "ACF
                                                                        “ACF [number]."
                                                                                [number].”
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 1
 1   unworthy of credence); McKinney v. American Airlines, Inc., 641 F.Supp.2d 962,
 2   974 (C.D. Cal. 2009) (plaintiff cannot establish pretext by showing investigation
 3 resulted in erroneous decision; rather, plaintiff must show reason was pretextual and
 4   that the real reason was unlawful discrimination).
 5         Snyder does not dispute that both Paulette Dodson and Cesar Jelvez
 6 understood that the entirety of the Capitol Building was closed to the public on

 7   January 6, 2021 and that Snyder’s
                              Snyder's photos showed her inside a closed area. (GDF 25,
 8 28.) Nor does Snyder dispute Alight discharged her based on its understanding of her

 9 actions after investigation. (GDF 27-29.) This is fatal to her claim because "it
                                                                                “it is not
10 important whether [the reasons for the employer’s
                                          employer's actions] were objectively false
11 (e.g., whether [plaintiff] actually lied). Rather, courts only require that an employer

12 honestly believed its reason for its actions, even if its reason is foolish or trivial or

13   even baseless."
          baseless.” Villiarimo, 281 F.3d at 1063. "The
                                                   “The employer may fire an employee
14 for a good reason, a bad reason, a reason based on erroneous facts, or for no reason

15 at all, as long as its action is not for a discriminatory reason."
                                                             reason.” Arteaga, 163 Cal. App.
16 4th at 344. There is simply no evidence that Alight's
                                                Alight’s legitimate business reasons for
17 discharging Snyder were pretext.

18                3.     Snyder cannot salvage her wrongful termination claim by
                         arguing a new legal theory that was not previously alleged.
19
           Implicitly recognizing the weakness of her arguments under sections 1101 and
20
     1102, Snyder now, for the first time, attempts to salvage her wrongful termination
21
     claim by adding a new, unalleged legal theory that Alight retaliated against her for
22
                        “cyber-bullying” when she squabbled on Facebook with her high
     reporting supposed "cyber-bullying"
23
     school friend. However, "[a]
                             “[a] plaintiff may not amend her complaint through
24
     argument in a brief opposing summary judgment."
                                          judgment.” Garland Connect, LLC v.
25
     Travelers Cas. Ins. Co. of
                             of Am., No. CV 20-09252 AB (SKx), 2022 WL 1589272, at
26
     *3 (C.D. Cal. Feb. 3, 2022) (quoting Gilmour v. Gates, McDonald & Co., 382 F.3d
27
     1312, 1315 (11th Cir. 2004)). This Court's
                                        Court’s reading of the Complaint is consistent
28
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 1
 1   with the fact the complaint never alleged this theory. (See ECF No. 30 at 5:10-18.)
 2   Snyder should not be permitted to "amend"
                                       “amend” her allegations now at the eleventh hour
 3 after the close of fact discovery.
 4          Even if Snyder were allowed to now add a wholly new theory for retaliation
 5 based on her online squabble with Facebook friends who disapproved of her

 6 behavior on January 6, this theory does not support a wrongful termination in

 7   violation of public policy claim. "To
                                       “To support such a cause of action, the policy in
 8 question must satisfy four requirements: First, the policy must be supported by either

 9 constitutional or statutory provisions. Second, the policy must be public in the sense

10 that it inures to the benefit of the public rather than serving merely the interests of

11 the individual. Third, the policy must have been articulated at the time of the

12 discharge. Fourth, the policy must be fundamental and substantial."
                                                         substantial.” Ross v.
   RagingWire
13 Raging Wire Telecomms., Inc., 42 Cal. 4th 920, 932 (2008) (quoting Stevenson v.
14 Super. Ct., 16 Cal. 4th 880, 894 (1997), internal quotation marks omitted). Thus

         “[t]he conduct [] complained about is a breach of company policy rather than
15 where "[t]he

16 any legal statute or regulation, or other violation based in law,”
                                                                law," plaintiff has no claim
17   for wrongful termination. Sako v. Wells
                                       Wells Fargo Bank, N.A., No. 14CV1034-GPC
18 (JMA), 2015 WL 5022307, at *14 (S.D. Cal. Aug. 21, 2015) (granting summary

19 judgment on wrongful termination claim). There is simply no constitutional or

20   statutory provision in California that either obligates employers to police their
21   employees’
     employees' Facebook squabbles or insulates an employee from potential discipline if
22   the on-line conduct results in what the employer reasonably considers a violation of
23   its policies.
24          In the absence of any genuine dispute of material fact, summary judgment on
25   Snyder’s
     Snyder's wrongful termination claim is appropriate.
26          B.       No Genuine Dispute of Material Fact on Snyder’s
                                                            Snyder's Claim for Breach
                     of Covenant of Good Faith and Fair Dealing.
27
            Snyder and Alight entered an express written agreement for at-will
28
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 1
 1   employment. (UF 11, 12.) The "at-will
                                  “at-will provision in an express written agreement,
 2   signed by the employee, cannot be overcome by proof of an implied contrary
   understanding.” Guz v. Bechtel Nat. Inc., 24 Cal. 4th 317, n. 10 (2000) (emphasis
 3 understanding."
 4   added); Tomlinson v. Qualcomm, Inc., 97 Cal. App. 4th 934, 945 (2002) (no implied
 5   employment agreement where plaintiff's
                                plaintiff’s "Terms
                                            “Terms of Employment”
                                                      Employment" specified at-will
 6 status); Jadwin v. Cty. of
                           of Kern, 610 F. Supp. 2d 1129, 1193 (E.D. Cal. 2009) ("the
                                                                                (“the
 7   bylaws, which are a part of an express employment contract…permit   removal…at-
                                                       contract...permit removal...at-
   will…[and are] controlling over an implied contract”).
 8 will...[and                                contract"). When Alight hired Snyder, it
 9 sent her an offer letter specifying that her "employment
                                                “employment with the Company is not for
10 a specified period of time and constitutes at-will employment.”
                                                      employment." (UF 11.) The letter
11 expressly "supersede[d]
             “supersede[d] any prior representation or agreements between [Snyder]
12 and the Company, whether written or oral.”
                                       oral." (Id.) At her deposition, Snyder admitted
13 she understood that she was free to leave Alight and pursue other jobs at any time for

       reason.” (UF 12.) Courts may not imply an agreement that "varies
14 any reason."                                                 “varies the terms of
15 an express at-will employment agreement signed by the employee.”
                                                         employee." Tomlinson, 97
16 Cal. App. 4th at 944. In the absence of an implied agreement granting Snyder good-

17   cause termination rights, Snyder has no claim for breach of the covenant of good
18   faith and fair dealing because "[w]here
                                    “[w]here the employment contract itself allows the
19 employer to terminate at will, its motive and lack of care in doing so are, in most

20   cases at least, irrelevant.”
                     irrelevant." Guz, 24 Cal. 4th at 351.
21         To the extent they are apposite, Snyder’s                     Alight’s position.
                                            Snyder's authorities support Alight's
22   The Foley factors erroneously cited by Snyder only apply "[w]here
                                                              “[w]here there is no
23   express agreement."
             agreement.” Guz, 24 Cal. 4th at 366; see also Foley v. Interactive Data
24   Corp., 47 Cal. 3d 654, 677 (1988) (in "absence
                                           “absence of
                                                    of an express written or oral contract
25   term concerning termination of employment”
                                    employment" evidence of contrary intent may
26   overcome statutory presumption of at-will status) (emphasis added). For example, in
27   Luck v. S. Pac. Transp. Co., there was no "express
                                               “express written or oral contract term
28   concerning termination of employment.”
                               employment." 218 Cal. App. 3d 1, 14 (1990), reh’g
                                                                               reh'g denied
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 1
 1   and opinion modified (Mar. 23, 1990). On that basis, the court went on to evaluate
 2   whether the evidence supported the jury's
                                        jury’s implied finding that "[t]he
                                                                    “[t]he presumption of
 3 at-will employment [was] overcome by evidence of an implied agreement that the
 4   employment would continue indefinitely, pending occurrence of some event….”
                                                                        event...."
                             14.5
 5 Luck, 218 Cal. App. 3d at 14.5

 6         Alternatively, even if Alight's
                                  Alight’s offer letter to Snyder were not an express at-
 7   will employment agreement, and even if Snyder’s
                                            Snyder's employment history with Alight's
                                                                             Alight’s
   predecessor companies (followed by a break in service working for a completely
 8 predecessor

 9 unrelated company) were equivalent to uninterrupted service with Alight, this is still

10 insufficient to establish an implied contract as a matter of law. See Guz, 24 Cal. 4th

11 at 341-342, 345 (longevity, raises, and promotions are their own reward and

12 company president's
           president’s statement that company only terminated for "good
                                                                  “good reason"
                                                                        reason”
13 insufficient to form implied contract); Carter v. CB Richard Ellis, Inc., 122 Cal.

14 App. 4th 1313, 1327 (2004) (thirty-year employment and assurances of promotion as

15 long as employee did a "good
                          “good job"
                                job” insufficient to form implied contract). In Guz, the
16 California Supreme Court squarely held "[w]e
                                          “[w]e therefore decline to [hold] that long,
17 successful service, standing alone, can demonstrate an implied-in-fact contract right

                           will.” 24 Cal. 4th at 343. To the extent Luck differs from Guz
18 not to be terminated at will."

19 on this point, it was overruled by the later high court decision. And even if Luck is

20   read on its own terms, Snyder’s
                            Snyder's attempt to analogize her circumstances to those of
21   the Luck plaintiff still fails because Snyder cites no evidence to support the alleged
22   implied contract beyond the supposed longevity of her employment. (ACF 4.) In
23   contrast, "Luck
               “Luck was promoted to a nonunion position after two years. She received
24

25   55  Additionally, the Luck court’s
                                  court's review and discussion of the implied contract
   evidence was constrained by the "highly
                                      “highly deferential"
                                              deferential” "substantial
                                                           “substantial evidence”
                                                                          evidence"
26 standard, which does not apply here. Luck, 218 Cal. App. 3d at 15; Schmidt v. Super.
   Ct.,
   Ct. 44 Cal. App. 5th 570, 581-82
                               581–82 (2020), as modified-on
                                                  modified on denial of  of reh’g
                                                                            reh'g (Feb. 14,
27 2020), review denied (Apr. 15, 2020). "Under
                                            “Under this standard of review, parties
   challenging a trial court’s
                       court's factfinding bear an enormous burden."
                                                              burden.” Schmidt, 44 Cal.
28 App. 5th at 581–82
               581-82 (citation and internal quotation and formatting marks omitted).
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 1   grade and salary increases and was repeatedly complimented on the high quality of
 2   her work during her term of employment.”
                                 employment." Luck, 218 Cal. App. 3d at 14-15.
                                                                        14–15. No such
 3   evidence is offered here.
 4         C.        “Clear and Convincing Evidence”
                  No "Clear                Evidence" of "Oppression,
                                                        “Oppression, Fraud, or
                  Malice” against Snyder.
                  Malice"
 5
           Snyder does not dispute that her punitive damages recovery requires "clear
                                                                               “clear
 6
     and convincing evidence”
                    evidence" that (1) an officer, director, or managing agent (2)
 7
     committed an act of oppression, fraud, or malice, or authorized or ratified the same.
 8
     Cal. Civ. Code § 3294. "Under
                            “Under the clear and convincing standard, the evidence must
 9
     be so clear as to leave no substantial doubt and sufficiently strong to command the
10
     unhesitating assent of every reasonable mind."
                                             mind.” Butte Fire Cases v. Super. Ct. of
                                                                                   of
11
     Sacramento Cty., 24 Cal. App. 5th 1150, 1158-59
                                             1158–59 (2018) (citations and internal
12
     formatting and quotation marks omitted). "[W]here
                                              “[W]here the plaintiff's
                                                           plaintiff’s ultimate burden of
13
     proof will be by clear and convincing evidence, the higher standard of proof must be
14
     taken into account in ruling on a motion for summary judgment or summary
15
     adjudication, since if a plaintiff is to prevail on a claim for punitive damages, it will
16
     be necessary that the evidence presented meet the higher evidentiary standard."
                                                                          standard.” Id.
17
     “[W]rongful termination, without more, will not sustain a finding of malice or
     "[W]rongful
18
     oppression.”
     oppression." Scott v. Phoenix Schools, Inc., 175 Cal. App. 4th 702, 717 (2009);
19
     Barry v. Kohl's
              Kohl’s Dep't Stores, Inc., No. B252275, 2015 WL 3381404, at *7 (Cal. Ct.
20
     App. May 26, 2015) (disagreeing that terminating employee due to cancer diagnosis
21
     and return from leave "necessarily
                           “necessarily requires a finding of malice"
                                                              malice” and affirming
22
     summary adjudication of punitive damages request); Carr v. Home Depot U.S.A.,
23
     Inc., No. 17cv1377 JM (JLB), 2018 WL 2329673, at *8 (S.D. Cal. May 23, 2018).
24
     Snyder fails to cite any evidence whatsoever of malice, fraud, or oppression.
25
           Indeed, the scant "evidence"
                             “evidence” cited in the Opposition sheds no light whatsoever
26
     on Alight's
        Alight’s termination decision or the investigation and decision-making process
27
     preceding the decision. Apart from citing the testimony of non-Alight-affiliated third
28
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 1
 1   parties with no conceivable insight into the termination decision, Snyder relies on her
 2   own speculation as to Alight's
                           Alight’s motives and a draft press release generally
 3   condemning "the
                “the actions of the rioters at the insurrection in Washington, D.C."
                                                                               D.C.” (See
 4   Opp'n at 16; ACF 14 [citing Declaration of Leah Snyder at ¶
     Opp’n                                                     ¶ 8 and Declaration of
 5 David Flyer at Ex. Q].) First, that Snyder "reasonably
                                              “reasonably believes"
                                                          believes” the reason for her
 6 employment termination is a "cover
                               “cover up"
                                      up” is immaterial; Snyder already admitted
 7   under oath that Alight never threatened her about engaging in political activity, that
 8 it never encouraged or urged her to engage in political activity, and no one in Alight

 9 management ever indicated that Alight did not want Snyder to support Donald

10 Trump. (Compare Declaration of Leah Snyder, ¶
                                               ¶ 8 with OF
                                                        UF 6-10.) The Court may
11 properly disregard conclusory declaration statements that contradict prior deposition

12 testimony. See Conyers v. Roddy, 830 F. App'x 531 (9th Cir. 2020) (citing Yeager v.

13 Bowlin, 693 F.3d 1076, 1080 (9th Cir. 2012)); Lumens Co., 807 F. App'x
                                                                    App’x at 617.
14 Second, Alight's
           Alight’s condemnation of a violent riot that happened to be politically
15 motivated is entirely reasonable—this Court (and the Congressional Republican

16 leadership) adopted a similar characterization. See, e.g., Eastman v. Thompson, No.

17 822-cv-00099-DOC-DFM, 2022 WL 894256, at *5 (C.D. Cal. Mar. 28, 2022).

18   Condemning the horrific events of January 6 hardly suggests categorical bias against
19 any particular political party or position.

20         The balance of Snyder’s
                          Snyder's argument merely complains about Alight's
                                                                   Alight’s reliance
21   on news reports to inform itself about the events of January 6, 2021. But that Snyder
22   (or even this Court) would investigate differently does not demonstrate that Snyder
23   was wrongfully terminated, much less that her employment termination was
24   motivated by malice, fraud, or oppression. Again, this Court does not sit as "a
                                                                                  “a super-
25             department” to second-guess business decisions, even if "the
     personnel department"                                             “the employer’s
                                                                            employer's
26   decision was wrong or mistaken."
                           mistaken.” Arteaga, 163 Cal. App. 4th at 343; Muzquiz v. City
27   of Emeryville, 79 Cal. App. 4th 1106, n. 6 (2000). There is no evidence of any
     of
28   conduct meriting punitive damages here and summary judgment of the punitive
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 1 damages request is appropriate.
 1

 2   III.   CONCLUSION
 3          After more than a year of discovery, Snyder has adduced no evidence to
 4   support the fundamental elements of her wrongful termination and breach of the
 5   covenant of good faith and fair dealing claims. For the reasons stated above and in its
 6 previously-filed papers, Alight respectfully requests the Court grant its Motion for

 7   Summary Judgment.
 8

 9 DATED: July 11, 2022                     OGLETREE, DEAKINS, NASH, SMOAK &
                                            STEWART, P.C.
10

11

12                                          By: /s/ Kathleen Choi
                                                Kathleen J. Choi
13                                              Thomas M. McInerney
14                                          Attorneys for Defendant
                                            ALIGHT SOLUTIONS LLC
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